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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

THE MCDONNEL GROUP, LLC                                 CIVIL ACTION NO. 2:18-CV-01380
                                                        c/w 19-2227; 19-2230; 19-10462
VERSUS
                                                        SECTION: “T” (1)
STARR SURPLUS LINES INSURANCE                           (Applies to 19-2227)
COMPANY AND LEXINGTON
INSURANCE COMPANY                                       JUDGE GREG G. GUIDRY

                                                        MAG. JUDGE JANIS VAN MEERVELD



                         MEMORANDUM IN SUPPORT OF
                    MOTION TO SET ASIDE MAGISTRATE’S ORDER
                           AND OBJECTIONS THERETO

MAY IT PLEASE THE COURT:

       Bernhard MCC, L.L.C. (“BMCC”), respectfully objects to the Magistrate Judge’s Order

and Reasons granting Insurers’ (Starr Surplus Lines Insurance Company (“Starr”) and Lexington

Insurance Company (“Lexington”) (collectively, “Insurers”)) Motions for Leave to File Amended

Answers to BMCC’s Amended Complaint. (Insurers’ motion for leave is Rec. Doc. 393, and the

Order granting the motion is Rec. Doc. 441.)

       BMCC adopts and incorporates all legal and applicable factual arguments asserted by The

McDonnel Group, LLC, in its objections to Rec. Doc. 441 (not yet filed, to BMCC’s knowledge).

       BMCC further shows that, since the issuance of Rec. Doc. 441, BMCC has issued

Amended Rule 26 Disclosures and a supplemental expert report that completely moot the basis for

Insurers’ motion. In addition, the Magistrate’s ruling is clearly erroneous substantively, because

it permits Insurers to seek rescission of contract damages that are not available here, and

procedurally, because it permitted Insurers to assert causes of action through affirmative defenses.

Therefore, BMCC respectfully requests the Magistrate’s Order be set aside per Federal Rule 72.
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     I.     The Magistrate’s Ruling is Erroneous Substantively and Procedurally

            The Magistrate’s Order should be set aside because it is clearly erroneous in two ways.

            A.       The damages Defendants seek under Article 1958 are Rescission of Contract
                     damages, but this alleged defense has nothing to do with Rescinding a
                     Contract.

            First, the ruling essentially permitted Insurers to claim damages under Article 1958 of the

Louisiana Civil Code, which Article permits a claim for damages when a contract is rescinded.

Defendants are not seeking to rescind the insurance policy. Rather, they rely on an exclusion

provision in the policy. Permitting Insurers to claim damages for rescission of a contract, which

cause of action requires deficiencies in a contract’s formation that are not present and have not

been pleaded in this case, was clearly wrong.

            B.       Insurers have filed a claim for damages in their defense, ignoring the legal
                     requirements to assert a Counterclaim to make a claim for damages, and doing
                     so outside the time permitted by procedural rules and this Court.

            Second, the ruling allowed Insurers to improperly assert a cause of action as an affirmative

defense for “recoupment and set-off,” instead of requiring Insurers to file a timely counterclaim

for this relief. Affirmative Defense 29 in Rec. Docs. 444 and 445 states that Starr and Lexington

“affirmatively pleads the defenses of recoupment and set-off.” Likewise, Defendants’

Supplemental Initial Disclosures dated January 24, 2020, provides:

                     Defendants further seek recoupment of any payments previously
                     paid to McDonnel or any other party for the claims submitted under
                     the Policy based on or including fraud and/or material
                     misrepresentations or omissions by McDonnel or any other party.
                     Defendants also seek all allowable under La. Civ. Code Ann. art.
                     1958, to the extent applicable.1

            Insurers seek monetary damages but have not filed a counterclaim as required by the

Federal Rules of Civil Procedure. The Order and Reasons allows them to assert this improper

“affirmative defense” and to circumvent the Federal Rules and the Court’s scheduling order


1
    See Exhibit A, at 7.
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deadline to assert claims. Moreover, the Insurers will undoubtedly seek to add “recoupment” on

the jury charges and jury verdict forms, which is also improper because this claim for alleged

damages has not properly been pled. At a minimum, the affirmative defense should be stricken.

 II.     The Allegations in Insurers’ Defenses Pertaining to BMCC are Moot

         The Magistrate’s Order should be set aside according to Rule 72, because, as it pertains to

BMCC, it is clearly erroneous as the basis for Insurers’ motion is now moot. On Page 11 of Rec.

Doc. 441, the Court noted BMCC had not yet affirmatively given insurers a credit for the accidental

double-billing in BMCC’s claim. (BMCC had estimated field management portions of its general

conditions for the March 10, 2017 claim, for example, but those amounts were already accounted

for in its overall extended general conditions claim that was prepared by its expert witness in this

matter.) Accordingly, the Court reasoned that “[u]nder the circumstances then, the defense

concerning the field management costs is not moot.” Shortly after the hearing referred to in Rec.

Doc. 441, BMCC indeed affirmatively gave Insurers credit for the accidental duplicative costs, by

detailed Amended Rule 26 Disclosures (attached hereto as Exhibit B) and a supplemental expert

report (attached hereto as Exhibit C). Therefore, this issue is moot.

III.     Conclusion

         Accordingly, BMCC objects to the findings and recommendations (styled “Order and

Reasons,” Rec. Doc. 441) in accordance with Rule 72. BMCC prays that the Court set aside the

Order and Reasons of the Magistrate Judge and deny Insurers’ Motion for Leave to File Amended

Answers to BMCC’s Amended Complaint (Rec. Doc. 393).

                               [Signatures Follow on the Next Page]




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                                             Respectfully submitted:

                                             RIESS LEMIEUX, LLC

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                                                    n/k/a Bernhard MCC, L.L.C.



                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that I electronically filed the foregoing pleading with the Clerk of

Court by using the CM/ECF system which will send a notice of electronic filing to all counsel of

record on this 31st day of January, 2020. I also certify that the filing will be served upon

defendants in accordance with the Federal Rules of Civil Procedure.


                                                             /s/Michael R. C. Riess




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